CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entered 03/13/19 22217:10

Fi|l in this information to identify your case:

United States Bankruptcy Courc for the:

EASTERN D|STR|CT OF NEW YORK

Case number (ifimowo; 11

 

l:l Check if this an
amended filing

 

 

Official Form 201
VoluntarLPetition for Non-|ndividua|s Fi|ingjor Bankruptcy 4116

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, instructions for Bankruptcy Forms for Non-l'ndividuais, is available.

1. Debtor's name FUEL COLLEGE LLC

 

2. Ail other names debtor
used in the last 8 years

include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Emp|oyer identification 27"0034834
Number (ElN)

 

 

 

4. Debtor‘s address Prinoipal place of business Mai|ing address, if different from principai place of
business
2276 Steinway Street 70 West 87th Street
Astoria, NY 11105 New York, NY 1002-4
Number, Street, City, State & Z|P Code P.O. Box, Number, Street, City, State & Z|P Code
Queens Location of principal assets, if different from principal
County place of business

 

Number, Street. City. State & Z|P Code

 

5. Debtor's website (URL)

 

 

5- TVP° °f deb*°r l corporation (inoluding Limirod Lia\oiliry company (LLC) and Limi:eol Liabiliry Parrnerohip (LLP))

lIl Porinorship (oxoluding LLP)
i:l Other. Specify_'

 

 

Ochial Form 201 Voluntary Petition for Non~lndividuals Filing for Bankruptcy page 1

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

Debtor FUEL COL_|_EGE LLC Case number (rrknown)

Name

 

7. Describe debtor’s business A. Check one.'
l:| Hea|th Care Business (as defined in 11 U.S_C_ § 101(Z7A))
n Singie Asset Reai Estate (as dedned in 11 U.S.C. § 101(51|3))
L`] Raiiroad (as defined in 11 U_S.C. § 101(44)}
|:i Stockbroi<er(as defined in 11 U.S.C, § 101(53A))
iZi commodity aroker (as cleaned in 11 u.S_c. § 101(5})
|:I Ciearing Bank (as defined in 11 U.S.C. § 781(3))

- None of the above

B_ Check ali that apply

i:l Tax-exempt entity (as described in 26 U.S.C. §501)

|:i investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §803-3)
|:i investment advisor (as defined in 15 U_S.C. §80b-2{a)(11))

C. NA|CS (North American industry Ciassification System) 4-digit code that best describes debtor_
See Ltp:/Mww.uscourts.qov/four-diqit-nationai-association-naics-codes.

7225

 

8. Under which chapter of the Check one:
Bankruptoy Code is the
debtor filing? m Chapter 7
|:i Chapter 9

l chapter 1 1 . check orr mar apply

|:i Debtor's aggregate noncontingent liquidated debts (exc|uding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4101/19 and every 3 years after that).

l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the debtor is a small
business debtor, attach the most recent balance sheet. statement of operations cash-flow
statement and federal income tax return or if ali of these documents do not exist follow the
procedure in 11 U.S.C. § 1116(1}(3).

A plan is being filed with this petition

|:i|:|

Acceptanoes of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

i:l The debtor is required to tile periodic reports (for examp|e, 1OK and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities ExchangeAct0f1934. Fiie the
attachment to Voiuntary Perrtr'on for dion-individuals Fiiing for Bankruptcy under Chapfer 1 1
(C)fficia| Form 201A) With this form.

|:l The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie 12b-2.
i:i Chapter 12

 

9. Were prior bankruptcy - No_
cases filed by or against
the debtor within the last 8 ij Yes.
years?

if more than 2 cases, attach a _ _
Separafe gist Drstrict When Case number

 

District When Case number

 

__~_*____

 

1D. Are any bankruptcy cases - No
pending or being filed by a
business partner or an I:I Yes.
affiliate of the debtor?

List ali cases_ if more than 1, . .
attach a separate list D€bfoi Re|ationshlp

 

District When Case number, if known

 

Officiai Form 201 Vo|untary Petition for Non-individuais Fi|ing for Bankruptcy page 2

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Eiitel’ed 03/13/19 22217:10

Debtor FUEL COLLEGE LLC

Name

11. Why is the case filed in
this district?

Check ali that appiy:

- Debtor has had its domiciie, principal place of business, or
preceding the date of this petition or for a longer part of su

Case number (irlmown}

 

principal assets in this district for 180 days immediately
ch 180 days than in any other district.

l:l A bankruptcy case concerning debtor's affiliate, general paltner, or partnership is pending in this district

 

12. Does the debtor own or l NO
have possession of any

real property or personal m Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check aii that app!y)

L_.| lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety_

What is the hazard?

 

l:l lt needs to be physically secured or protected from the weather.

l:l it includes perishable goods or assets that couid
livestock, seasonal goods, meai, dairyl

l:l Other

quickly deteriorate or lose value without attention (for example
produoe, or securities-related assets or other options)_

 

Where is the property?

ls the property insured?

l] No

[| Yes_ insurance agency
Contact name
Phone

 

Number, Street, City, State & ZiP Code

 

 

 

 

-§atistical and administrative information

13. Debtor‘s estimation of Check one:
available funds

l Funds will be available for distribution to unsecured creditors

l:i After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimatod number of - 149 El 1,000-5,000 iI| 25,001-50,000
creditors m 59_99 ij 5001~10,000 i:i 50,001-100,000
iii 100-199 ill 10_001_25,000 iii lvlore ihonioo.ooo
iii 200-999
15. Estimaiod Assots l so - $50.000 iii $1,000,001 - $10 million ill $500,000,001 - si billion

iii sso,ooi - sioo,ooo
i:i sioo,ooi - $500,000
i_'.i $500,001 - $1 million

iIi $10,000,001 - soo million
E| $50,000,001 - $100 million
l:i $100,000,001 - 3500 million

lZi si ,000,000,001 - sic billion
EJ slo,ooo,ooo,c)oi - $50 billion
ij More than sss billion

 

16. Estimated liabilities |:| $0 _ $50_099

l sso,ooi -sioo,ooo
Ei $100,001 - ssoo,ooo
[Ii ssoo,ool - $1 million

lIl $1,000,001 - $10 million

Ci sio,ooo,ooi - $50 million
ill sso,ooo,om - $100 miliion
i:i sioo,ooo,ooi - $500 million

iI| $500,000,001 - $1 billion

iIl $1,000,000,001 - $10 blillon
l:i $10,000,000,001 - $50 billion
l:l iViore than $50 billion

 

Official Form 201

 

Voluntary Petition for Non-|ndividuais Fiiing for Bankruptcy

page 3

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Eiitel’ed 03/13/19 22217:10

D€bif>i FUEL COLLEGE LLC

Name

-Request for Re|ief, Declaration, and Signatures

Case number (Irknowri)

 

WARNING -- Bani<ruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in nnes up to $500,000 or

imprisonment for up to 20 yeals, or both. 18 U_S.C. §§ 152, 1341, 1519, and 3571

17. Deciaration and signature

of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor

l have been authorized to file this petition on behalf of the debtor.

i have examined the information in this petition and have a reasonable belief that the information is trued and correct.

i declare under penalty of perjury that the foregoing is true and correct.

Executed on 9

  
 

   

March 13, 20

Signature of authorized Wre§j‘ntative of debtor

 

 

Tii|e Authorized Representative

 

Edward Schwartz

 

Printed name

 

18. Signature of attorney X z ' " H_‘\

Signature of attorney for debtor

Lawrence F. Morrison
Printed name

Morrison Tenenbaum, PLLC
Firm name

87 Waiker Street, Second Fioor

New York, NY 10013
Number, Street. City, State & ZiP Code

Contact phone 212-620-0938 Email address

 

2889590 NY

Date March 13, 2019

 

Nl|Vil'DD /YYYY

info@m-t-iaw.com

 

 

Bar number and State

Ofnciai Form 201 Voluntary Petition for Non-lndividua|s Fiiing for Bankruptcy page 4

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Eiitel’ed 03/13/19 22217:10

Fi|i in this information to identify the case:

Debtor name FUEL COLLEGE LLC

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW ¥ORK

 

Case number (ir known)
ij Check if this is an
amended filing

 

 

Officiai Form 202
Dec|aration Under Penalty_of Perjury for Non-individua| Debtors inns

An individual who is authorized to act orl behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and iiabiiities, any other document that requires a declaration that is not included irl the document, and any
amendments of those documents This form must state the individuai’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Ruies 1008 and 9011.

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

-E:c|aration and signature

l am the presidentl another officer, or an authorized agent ofthe corporation; a member or an authorized agent of the paltnership; or another
individual serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Assets-Reai and Personai Properiy (Officia| Form ZOEAIB}

Scheduie D: Credl'tors Who Have Ciaims Secured by Property (Offlciai Form 20613)

Scheduie E/F: Creo'iiors Who Have Unsecureo' Ciaims (Offlciai Form 205E/F)

Scheduie G: Executory Confracts and Unexpl'red Leases (Offlciai Form 2066)

Schedui'e H.' Codebfors (Ofiicial Form 206H}

Summary ofAssets and i_iabl'iities for Non-l'ndividuais (Offlcial Fo rm 2068um)

Amended Scheduie

Chapter 11 or Chapter 9 Cases.' i_r'sr of Credirors Who Have the 20 Largest Unsecureo‘ Clal'rns and Are Not insiders (Officiai Form 204)
Other document that requires a deciaratiori

/
ii
i declare under penalty of perjury that the foregoing is true and correct f
Executed on March 13, 2019 X g \.

Signature ofindividual signiifg bit behalf of debtor

 

l:|K|EllIll]l:ll]l:ll:|

 

 

Edward Schwartz
Printed name

Authorized Representative
Position or relationship to debtor

0fflcial Form 202 Deciaration Under Penalty of Perjury for Non-lndividuai Debtors

Scftware Copyright (c] 1995-2018 Best Case, LLC - www.bestcase.com Besi Case Bankruptcy

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Eiitel’ed 03/13/19 22217:10

 
 

Fi|i in this information to identify the case:

Debtor name FUEL COLLEGE LLC

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF NEW
YORK

  
      

|:| Check if this is an

  
 
 

Case number (if known):

 

 
 

amended filing

 

Ofiicial Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims and
Are Not insiders 12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

Name of creditor and Name, telephone number Nature of claim indicate if claim Amount of claim

complete mailing address, and emaii address of (for exampie, trade is contingent, if the claim is fully unsecured. fill in only unsecured claim amount if

including zip code creditor contact debts, bank loans, unliquidated, or claim is partially secured, fill irl total claim amount and deduction for
professional services disputed value of collateral or setoff to calculate unsecured ciaim.
and government Totai claim, if Deduction for value Unsecured claim
CO"U'&CTS) partially secured of collateral or setoff

Cousin Properties Unliquidated $30,761.22

|nc.

214 North Tryon

Street

Suite 3600

Char|otte, NC 28202

illiecklenburg Unliquidated $9,665.78

County Tax

PO Box 71063
Charlotte, NC 28272
Pepsi Bottline Uniiquidated $464.53
Ventures

1900 Pepsi Way
Gamer, NC 27529
Tarheel Linen Un|iquidated $163.02
PO Box 15028
Durham, NC 27704
US Food Service Un|iquidated $24,632.11
800 Food Service
Way

Fort Mi||, SC 29715

 

 

 

 

 

 

 

 

 

 

 

 

Ofnciai form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who l-iave the 20 Largest Unsecured claims page 1

Software Copyrigi'it (c) 1990-2013 Best Case, LLC - www.bestcase.oom Best Case Bankn.lptcy

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

United States Bankruptcy Court
Eastern District of New York
ln re FUEL COLLEGE LLC

Case No.
Debtor{S) Chapter 1 1

LIST OF EQUI'I`Y SECURITY HOL])ERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(3)(3) for ti

Name and last known address or place of Security Class Number of Seeurities
business of holder

FUEL PARTNERS 2002 LLC

ling in this Chapter ll Case

Kind of lnterest

100%

DECLARATI()N UN])ER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Authorized Representative Of the cor
perjury that ] have read the foregoin

poration named as the debtor in this case, declare under penalty of
information and belief.

g List of Equity Security Holders and that it is true and correct to the best of my

'/\, hit //
gif/ wl t /
pate March13,2019 Signature \i' ;;H;t

Edward Schwartz v U

Penaltyfor making aj%zlse statement ofconcealin.g,oroperg): F inc of up to $500,000 or imprisonment for up to 5 years or both.
l8 U`S.C. §§ 152 and 3571.

Sheet l of 1 in List of Equity Sccurity Holders
Software Copyn'ght (c) 1996¢2018 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy

 

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

United States Bankruptcy Court
Eastern District of New York
In re FUEL COLLEGE LLC Case No.

 

Debtor(s) Chapter 1 1

 

VERIFICATION OF CREDITOR MATRlX

The above named debtor(S) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge

/"

././

l

“"“- -¢_4._).

§§

/
Dare: March 13, 2019 €/ /

Edward Schwartz/Authorized Repr c §étive
signer/noe

USBC-44 Rev. 9/171'98

Software Copyright tci 1996-2015 Eest Case, LLC - www.bestcase.¢:om seat case Benr<mprcy

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

Cousin Properties Inc.
214 North.Tryon_Street
Suite 3600

Charlotte, NC 28202

Mecklenburg County Tax
PO BOX 71063
Charlotte, NC 28272

Pepsi Bottline Ventures
1900 Pepsi Way
Garner, NC 27529

Tarheel Linen
PO BOX 15028
Durham, NC 27704

US Food Service
800 Food.§ervice Way
Fort Mill, SC 29715

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

United States Bankruptcy Court
Eastern District of New York
lo re FUEL COLLEGE LLC

Case No.
_1_~____

Debtor(s) Chapter 1 1

 

CORPORATE ()\WERSH]P STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FUEL COLLEGE LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any

class of the corporation's(S') equity interests, or states that there are no entities to report under FRBP 7007.1:
FUEL PARTNERS 2002 LLC

 

l:l None [Check #applicab]e]

March 13, 2019 Y,~.»-»-~' /*"'"’\`

Date Lawrence F. Morrison

Signature of Attorney or litigant
C()unsel for FUEL COLLEGE LLC
Morrison Tenenbaum, PLLC

87 Waiker Street, Second Floor
New York, NY 1001 3

212-620-0938 Fax:646-390~5095
info@m-t-|aw.com

Software Copyright (c) 1996-2015 Eest Case, LLC - www_bestcase.com seat case Bankruptcy

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT ()F NEW YORK

STATEMENT PURSUANT TO L()CAL
BM`IKRUPTCY RULE 1073-2(b)

DEBTOR(S): FUEL COLLEGE LLC CASE NO_:_

 

 

Pursuant to Local Bankruptcy Rule lO73-2(b), the debtor (or any other petitioned hereby makes the f`oilowing disclosure
concerning Rclated Cases, to the petitioners best knowledge information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-l and E.D.N.¥. LBR 1073-2 if the earlier case

was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (1) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates as defined in ll U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more ot` its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of` another estate under ll U.S.C. § 54l(a).]

- NO RELATED CASE IS PEND[NG OR HAS BEEN PENDING AT ANY TIME.

|:l THE FOLLOWlNG RELATED CASE(S) lS PENDI`NG OR l'lAS BEEN PENDING:

1. CAsE No.: JUDGE: DlsrRlCT/DrvrsioN:
cAsE sriLL PENDING (YrN): [rfcrosed] pate erciosing;

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge confirmed1 dismissed, etc.)

MANNER IN Wmcn cAsEs ARE RELATED (Refer to NorE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE?

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): [Kclosed] Date of ciosing:

CUR_RENT STATUS OF RELATED CASE:

 

(Dischargedfawaiting discharge, confirmed, dismissed, etc.)

MANNER IN WH[CH CASES AR_E`, RELATED _(Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED lN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDG_E: DlSTRICT/DIVIS[ON:
CASE STILL PENDING (Y/N): [1:f closed] Date of closing:
(OVER)

Software Copyright (c) 1996-2013 Best Case. LLC - www_bestcaseicom Elest Case Eank:uptcy

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entei’ed 03/13/19 22217:10

DISCLOSUR_E OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting dischargej confirmed, dismissed, etc.)

MANNER IN Wl-llCIri CASES ARE RELATED (Refer' to NOTE above):

 

R_EAL PROPERTY LISTED lN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WH[CH WAS ALSO LISTED IN
SCH'EDULE "A" OF RELATED CASE:

NOTE: Pursuant to ll U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors Such an individual will be required to file a statement in support of his/her eligibility to file

TO BE COMPLETED BY DEBTOR/PETITIONER‘S ATTORNEY, AS APPLICABLE:

l am admitted to practice in the Eastern District of New Yorl< tYfN): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioners attomey, as applicable):

l certify under penalty of perjury that the within bankruptcy case is not related to any case now pend'mg/o`i"_ pending at any time, except
as indicated elsewhere on this fonn. ‘

kij

Lawrence F. Morrison

Signature of Debtor‘s Attomey Signature of _Pro Seertor/Petitioner
Morrison Tenenbaum, PLLC

87 Waiker Street, Second F|oor
New Yorlt, NY 10013
212-620-0938 Fax:646-390-5095

 

 

 

Signature of Pro Se Joint Debtor/Petitioner

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephonc Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Disrnissal of your petition may otherwise
result

USBC-l 7 Rev.S."l]/Ztltl§l
Softwere Copyright (c) 1996*2015 Best Case, LLC - www,bestcase.com Best Case Bankroptcy

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entered 03/13/19 22217:10

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

------- -- -- X
ln re
Chapter ll
FUEL COLLEGE, LLC,
Case No. 19- ( )
Debtor.
__ -- -X
CORPORATE RESOLUTI()N

 

At the meeting of the Board of Managers of Fuel College, LLC (“Fuel”) a New York
limited liability company, it Was determined to be in the best interests of Fuel to tile for
bankruptcy under Chapter ll of the United States Bankruptcy Code and the following resolution
was adopted:

Whereas, it is in the best interest of this corporation to file a voluntary
petition in the United States Bankruptcy Court pursuant to Chapter ll of Title ll
of the United States Code;

Be lt Therefore Resolved, that Edward Schwartz, Chief Financial Off`icer
of Fuel Partners 2002, LLC, Manager of this company, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter ll
voluntary bankruptcy case on behalf of the corporation; and

Be lt Further Resolved, that Edward Schwartz, Chief Financial Ofiicer of
Fuel Partners 2002, LLC, Manager of this company, is authorized and directed to
appear in all bankruptcy proceedings on behalf of the company, and to otherwise
do and perform all acts and deeds and to execute and deliver all necessary
documents on behalt`of the company in connection With such bankruptcy case;
and

Be it Further Resolved, that Edward Schwartz, Chief Financial Ofiicer of
Fuel Partners 2002, LLC, Manager of this company, is authorized and directed to
employ Lawrence F. l\/Iorrison, attorney and the law firm of Morrison
Tenenbaum, PLLC to represent the corporation in such bankruptcy case

Dated: New York, New York
March 13, 2019

t Q/%

Jeremy Wladis anager

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entered 03/13/19 22217:10

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

--~ -- ---- »-X
In re:

 

 

Chapter ll
FUEL COLLEGE, LLC,
Case No. 19- ( )
Debtor.
_ __ ____ __ ____X

 

DECLARATION PURSUANT TO E.D.N.Y. LOCAL BANKRUPTCY RULE 1007

l, Jererny Wladis, duly sworn, depose and say under penalty of perjury and the laws of the
United States of Ainerica pursuant to 28 U.S.C. § 1746:

l. l am the l\/lanager of Fuel Partners 2002 LLC, the manager of Fuel College, LLC
(the “Debtor”), and as suchl am familiar With the operations, business and financial affairs of the
Debtor. I submit this Aftidavit in accordance with the E.D.N.Y. Local Bankruptcy Rules in
support of the voluntary petition filed by the Debtor under Chapter llof title ll of the United
States Code (“Bankruptcy Code”).

2. There is no pending bankruptcy case against the Debtor and this petition is filed as
a voluntary Chapter ll proceeding

3. The Debtor operates a pizzeria restaurant located at 70 West 87th Street, New York,
NY 10024 and it books and records are located at 2276 Steinway Street, Astoria, NY 11105.

4. The Debtor is filing a voluntary petition under Chapter ll of the Bankruptcy Code
due to a landlord-tenant proceeding between Cousin Properties lncorporated and the Debtor
pending in Chariotte, North Carolina.

5. The Debtor is owned 100% by Fuel Partners 2002, LLC.

6. A list of the Debtor’s top twenty (20) largest unsecured creditors is annexed hereto

as Exhibit “A”.

 

CaS€ 1-19-41479-€88 DOC 1 Filed 03/13/19 Entered 03/13/19 22217:10

7. Currently, the estimated average monthly revenue is about $58,000.00 per month.
The Debtor has 12 employees, and the estimated average monthly payroll is approximately

$20,100.00, including payroll taxes. The other expenses are as follows:

a. Officer compensation: $0 per week
b. Estimated Cost of Goods Sold: about $18,000.00 a month
c. Estimated Operating expenses, incl. rent: about $19,500.00 a month
8. Ali required schedules, if not filed with the voluntary petition on the date of filing,

will be filed within fourteen (14) days of the date filing the Debtor’s voluntary petition, which will
provide a list of the Debtor’s assets, secured creditors and other information required
I declare under penalty of perjury that the foregoing is true and correct.

Executed on l\/larch 13, 2019.

Q/i%'”'”"

Jererny Wladisydiziéager

 

